Case 6:20-cv-00117-RBD-LRH Document1 Filed 01/23/20 Page 1 of 10 PagelD 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

DOUG LONGHINI, Individually,
Plaintiff,
VS. : Case No.

L. B. J. PROPERTIES, a Florida General
Partnership,

Defendant. :
/

 

COMPLAINT
(Injunctive Relief Demanded)

Plaintiff, DOUG LONGHINI, Individually, and on behalf of all other mobility impaired
individuals similarly situated, (sometimes referred to as “Plaintiff’), hereby sues the Defendant,
L, B. J. PROPERTIES, a Florida General Partnership, (sometimes referred to as “Defendant”),
for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to the
Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1. Plaintiff, Doug Longhini, is an individual residing in Miami, Florida, in the County of
Miami-Dade.

2. Defendant’s property, Herndon Center is located at 615 Herndon Center, Orlando, FL
32803, in the County of Orange.

3. Venue is properly located in the Middle District of Florida because venue lies in the
judicial district of the property situs. The Defendant’s property is located in and does
business within this judicial district.

4. Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

jurisdiction over actions which arise from the Defendant’s violations of Title III of the
Case 6:20-cv-00117-RBD-LRH Document1 Filed 01/23/20 Page 2 of 10 PagelD 2

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201
and § 2202.

Plaintiff Doug Longhini is a Florida resident, is sui juris, and qualifies as an individual
with disabilities as defined by the ADA. Doug Longhini has cerebral palsy and requires
the use of a wheelchair to ambulate. Mr. Longhini has very limited use of his hands and
cannot operate any mechanisms which require tight grasping or twisting of the wrist. Mr.
Longhini regularly visits Orlando and the surrounding areas to visit friends, to patronize
the tourist attractions, and in conjunction with his advocacy for disabled rights. Doug
Longhini has visited the subject property on several occasions, and plans to return in the
near future to the subject property to avail himself of the goods and services offered to
the public at the property, and will in the future continue to encounter architectural
barriers at the subject property, until the barriers are corrected. The barriers to access at
the property have endangered his safety.

Defendant owns, leases, leases to, or operates a place of public accommodation as
defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and
36.104. Defendant is responsible for complying with the obligations of the ADA. The
place of public accommodation that the Defendant owns, operates, leases or leases to is
known as Herndon Center, and is located at 615 Herndon Center, Orlando, FL 32803.
DOUG LONGHINI has a realistic, credible, existing and continuing threat of
discrimination from the Defendant’s non-compliance with the ADA with respect to the
property as described but not necessarily limited to the allegations in paragraph 9 of this

complaint. Plaintiff has reasonable grounds to believe that he will continue to be
Case 6:20-cv-00117-RBD-LRH Document1 Filed 01/23/20 Page 3 of 10 PagelD 3

subjected to discrimination in violation of the ADA by the Defendant. Doug Longhini
desires to visit the Herndon Center, not only to avail himself of the goods and services
available at the property, but to assure himself that this property is in compliance with the
ADA so that he and others similarly situated will have full and equal enjoyment of the
property without fear of discrimination.

The Defendant has discriminated against the individual Plaintiff by denying him access
to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages
and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff
in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,
1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of
$500,000 or less). A preliminary inspection of the Herndon Center has shown that
violations exist. These violations that Doug Longhini has personally encountered or
observed include, but are not limited to:

Parking

a) There are accessible parking spaces that do not provide signs designating them as
accessible, violating Section 4.6.4 of the ADAAG and Section 502.6 of the 2010
ADA Standards, whose resolution is readily achievable.

b) The plaintiff had difficulty exiting the vehicle, as designated accessible parking
spaces are located on an excessive slope. Violation: Some of the accessible
parking spaces are located on a slope in violation of Section 4.6.3 of the ADAAG
and Section 502.4 of the 2010 ADA Standards, whose resolution is readily
achievable.

c) The plaintiff had difficulty exiting the vehicle, as designated accessible parking
space access aisles are located on an excessive slope. Violation: Some of the
accessible parking space access aisles are located on a slope violating Section

4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA Standards, whose
resolution is readily achievable.
Case 6:20-cv-00117-RBD-LRH Document1 Filed 01/23/20 Page 4 of 10 PagelD 4

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Entrance Access and Path of Travel

The plaintiff had difficulty traversing the path of travel, as it was not continuous
and accessible. Violation: There are inaccessible routes from the public sidewalk.
These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and
4.5.2 of the ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010
ADA Standards, whose resolution is readily achievable.

The plaintiff had difficulty using some of the curb ramps, as the slopes are
excessive. Violation: There are curb ramps at the facility that contain excessive
slopes, violating Section 4.7.2 of the ADAAG and Sections 405.2 and 406.1 of
the 2010 ADA Standards, whose resolution is readily achievable.

Public Restrooms

There are permanently designated interior spaces without proper signage,
violating Section 4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703
of the 2010 ADA Standards, whose resolution is readily achievable.

The plaintiff had difficulty entering the restroom without assistance, as the door
threshold is too high. Violation: There are threshold rises in excess of % inch at
the restroom entrances, violating Section 4.13.8 of the ADAAG and Section
404.2.5 of the 2010 ADA Standards, whose resolution is readily achievable.

The plaintiff could not use the toilet compartment without assistance, as one of
the required size is not provided: Violation: The toilet compartments provided for
public use at the facility are in violation of Section 4.17.3 and Figure 30(a) of the
ADAAG and Section 604.8.1 of the 2010 ADA Standards, whose resolution is
readily achievable.

The plaintiff could not use the accessible toilet compartment door without
assistance, as it is not self-closing and does not have compliant door hardware.
Violation: The accessible toilet compartment door does not provide hardware and
features that comply with Sections 4.17.5 and 4.13.9 of the ADAAG and Sections
309.4 and 604.8.1.2 of the 2010 ADA Standards, whose resolution is readily
achievable.

The plaintiff could not flush the toilet without assistance, as the flush valve is not
mounted on the wide area. Violation: The flush valve is not mounted on the
compliant side in violation of Section 4.16.5 of the ADAAG and Section 604.6 of
the 2010 ADA Standards, whose resolution is readily achievable.

The plaintiff could not transfer to the toilet without assistance, as the grab bars are
not at the required locations. Violation: The grab bars in the accessible toilet

4
Case 6:20-cv-00117-RBD-LRH Document1 Filed 01/23/20 Page 5 of 10 PagelD 5

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compartment do not comply with the requirements prescribed in Sections 4.17.6
and 4.26 of the ADAAG and Sections 604.5 and 609 of the 2010 ADA Standards,
whose resolution is readily achievable.

The plaintiff was exposed to a cutting/burning hazard because the lavatory pipes
are not wrapped. Violation: The lavatory pipes are not fully wrapped or
maintained violating Section 4.19.4 of the ADAAG and Section 606.5 of the 2010
ADA Standards, whose resolution is readily achievable.

m) The plaintiff could not use the mirror, as it is mounted too high. Violation: The

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mirrors provided in the bathrooms are in violation of the requirements in Section
4.19.6 of the ADAAG and Section 603.3 of the 2010 ADA Standards, whose
resolution is readily achievable.

The plaintiff could not use the paper towel dispenser without assistance, as it is
mounted too high. Violation: There are dispensers provided for public use in the
restroom, with controls outside the ranges prescribed in Sections 4.2.5, 4.2.6, and
4.27.3 of the ADAAG and Sections 308 & 309.3 of the 2010 ADA Standards,
whose resolution is readily achievable.

The plaintiff could not exit the restroom without assistance, as the required
maneuvering clearance was not provided due to the location of a trashcan.
Violation: The restroom door does not provide the required latch side clearance
violating Section 4.13.6 of the ADAAG and Sections 36.211 and 404.2.4 of the
2010 ADA Standards, whose resolution is readily achievable.

D & G OCCASIONS
Public Restrooms

There are permanently designated interior spaces without proper signage,
violating Section 4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703
of the 2010 ADA Standards, whose resolution is readily achievable.

The plaintiff could not enter the restroom without assistance, as the door width
was too narrow. Violation: The clear width at the restroom entrance is less than
the prescribed minimum, violating Section 4.13.5 of the ADAAG and Section
404.2.3 of the 2010 ADA Standards, whose resolution is readily achievable.

The plaintiff had difficulty using the restroom door without assistance, as the door
hardware requires tight grasping and twisting of the wrist to operate. Violation:
The restroom door has non-compliant hardware for disabled patrons, violating
Section 4.13.9 of the ADAAG and Sections 309.4 and 404.2.7 of the 2010 ADA
Standards, whose resolution is readily achievable.
Case 6:20-cv-00117-RBD-LRH Document1 Filed 01/23/20 Page 6 of 10 PagelD 6

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The plaintiff could not exit the restroom without assistance, as the required
maneuvering clearance was not provided due to the location of a trashcan.
Violation: The restroom door does not provide the required latch side clearance
violating Section 4.13.6 of the ADAAG and Sections 36.211 and 404.2.4 of the
2010 ADA Standards, whose resolution is readily achievable.

The plaintiff was exposed to a cutting/burning hazard because the lavatory pipes
are not wrapped. Violation: The lavatory pipes are not fully wrapped or
maintained violating Section 4.19.4 of the ADAAG and Section 606.5 of the 2010
ADA Standards, whose resolution is readily achievable.

The plaintiff could not use the paper towel dispenser without assistance, as it is
mounted too high. Violation: There are dispensers provided for public use in the
restroom, with controls outside the ranges prescribed in Sections 4.2.5, 4.2.6, and
4.27.3 of the ADAAG and Sections 308 & 309.3 of the 2010 ADA Standards,
whose resolution is readily achievable.

The plaintiff could not use the mirror, as it is mounted too high. Violation: The
mitrors provided in the bathrooms are in violation of the requirements in Section
4.19.6 of the ADAAG and Section 603.3 of the 2010 ADA Standards, whose

resolution is readily achievable.

w) The plaintiff could not use the soap bottle without assistance, as it requires a tight

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grasp to operate. Violation: The soap dispensers require a tight grasp to operate in
violation of Section 4.27.4 of the ADAAG and Section 309.4 of the 2010 ADA
Standards, whose resolution is readily achievable.

The plaintiff could not transfer to the toilet without assistance, as grab bars are not
at the required locations. Violation: The grab bars do not comply with the
requirements prescribed in Section 4.16.4 and Figure 29 of the ADAAG and
Sections 604.5 and 609 of the 2010 ADA Standards, whose resolution is readily
achievable.

The plaintiff had difficulty using the toilet without assistance, as it is not mounted
at the required distance from the side wall. Violation: The water closet is mounted
at a non-compliant distance from the side wall, violating Section 4.16.2 and
Figure 28 of the ADAAG and Section 604.2 of the 2010 ADA Standards, whose
resolution is readily achievable.

The plaintiff could not use the toilet paper dispenser without assistance, as it is
not mounted at the required location. Violation: The toilet paper dispenser is not
mounted in accordance with Section 4.16.6 and Figure 29 of the ADAAG and
Section 604.7 of the 2010 ADA Standards, whose resolution is readily achievable.
Case 6:20-cv-00117-RBD-LRH Document1 Filed 01/23/20 Page 7 of 10 PagelD 7

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aa) The plaintiff could not use the coat hook without assistance, as it is mounted too
high. Violation: There are coat hooks provided for public use in the restroom,
outside the reach ranges prescribed in Sections 4.2.5, 4.2.6, and 4.25.3 of the
ADAAG and Sections 308 and 604.8.3 of the 2010 ADA Standards, whose
resolution is readily achievable.
Maintenance

bb) The accessible features of the facility are not maintained, creating barriers to
access for the Plaintiff, as set forth herein, in violation of 28 CFR 36.211.

All of the foregoing violations are also violations of the 1991 Americans with Disabilities
Act Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible Design,
as promulgated by the U.S. Department of Justice.

The discriminatory violations described in paragraph 10 are not an exclusive list of the
Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of
public accommodation in order to photograph and measure all of the discriminatory acts
violating the ADA and all of the barriers to access. The individual Plaintiff, and all other
individuals similarly situated, have been denied access to, and have been denied the
benefits of services, programs and activities of the Defendant’s buildings and its
facilities, and have otherwise been discriminated against and damaged by the Defendant
because of the Defendant’s ADA violations, as set forth above. The individual Plaintiff,
and all others similarly situated, will continue to suffer such discrimination, injury and
damage without the immediate relief provided by the ADA as requested herein. In order
to remedy this discriminatory situation, the Plaintiff requires an inspection of the
Defendant’s place of public accommodation in order to determine all of the areas of non-

compliance with the Americans with Disabilities Act.
Case 6:20-cv-00117-RBD-LRH Document1 Filed 01/23/20 Page 8 of 10 PagelD 8

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15.

Defendant has discriminated against the individual by denying him access to full and
equal enjoyment of the goods, services, facilities, privileges, advantages and/or
accommodations of their places of public accommodation or commercial facilities in
violation of 42 U.S.C. § 12181 et_seq. and 28 CFR 36.302 et seq. Furthermore, the
Defendant continues to discriminate against the Plaintiff, and all those similarly situated
by failing to make reasonable modifications in policies, practices or procedures, when
such modifications are necessary to afford all offered goods, services, facilities,
privileges, advantages or accommodations to individuals with disabilities; and by failing
to take such efforts that may be necessary to ensure that no individual with a disability is
excluded, denied services, segregated or otherwise treated differently than other
individuals because of the absence of auxiliary aids and services.

Plaintiff is without adequate remedy at law and is suffering irreparable harm.
Considering the balance of hardships between the Plaintiff and Defendant, a remedy in
equity is warranted. Furthermore, the public interest would not be disserved by a
permanent injunction. Plaintiff has retained the undersigned counsel and is entitled to
recover attorney’s fees, costs and litigation expenses from the Defendant pursuant to 42
U.S.C. § 12205 and 28 CFR 36.505.

Defendant is required to remove the existing architectural barriers to the physically
disabled when such removal is readily achievable for its place of public accommodation
that have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there
has been an alteration to Defendant’s place of public accommodation since January 26,

1992, then the Defendant is required to ensure to the maximum extent feasible, that the
Case 6:20-cv-00117-RBD-LRH Document1 Filed 01/23/20 Page 9 of 10 PagelD 9

altered portions of the facilities are readily accessible to and useable by individuals with

disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the

Defendant’s facilities are ones which were designed and constructed for first occupancy

subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant’s

facilities must be readily accessible to and useable by individuals with disabilities as
defined by the ADA.

16. Notice to Defendant is not required as a result of the Defendant’s failure to cure the
violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer
employees and gross receipts of $500,000 or less). All other conditions precedent have
been met by Plaintiff or waived by the Defendant.

17. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff
Injunctive Relief, including an order to require the Defendant to alter the Herndon Center
to make those facilities readily accessible to and useable by the Plaintiff and all other
persons with disabilities as defined by the ADA; or by closing the facilities until such
time as the Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

a. The Court issue a Declaratory Judgment that determines that the Defendant at the
commencement of the subject lawsuit is in violation of Title III of the Americans
with Disabilities Act, 42 U.S.C. § 12181 et seq.

b. Injunctive relief against the Defendant including an order to make all readily
achievable alterations to the facilities; or to make such facilities readily accessible

to and usable by individuals with disabilities to the extent required by the ADA;
Case 6:20-cv-00117-RBD-LRH Document1 Filed 01/23/20 Page 10 of 10 PagelD 10

and to require the Defendant to make reasonable modifications in policies,
practices or procedures, when such modifications are necessary to afford all
offered goods, services, facilities, privileges, advantages or accommodations to
individuals with disabilities; and by failing to take such steps that may be
necessary to ensure that no individual with a disability is excluded, denied
services, segregated or otherwise treated differently than other individuals

because of the absence of auxiliary aids and services.

Cc. An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.
§ 12205.
d. Such other relief as the Court deems just and proper, and/or is allowable under

Title II of the Americans with Disabilities Act.

Dated: 25 [0 Respect

 
 
 

fitted,

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10
